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                         EXHIBIT 2
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                                          Press
                                          Press Releases
                                                Releases




  TRUE THE VOTE UPDATE ON LITIGATION AND ONGOING
           FIGHT FOR ELECTION INTEGRITY
                              By True
                                 True the
                                      the Vote
                                          Vote   November 17, 2020




True the Vote Update on Litigation and Ongoing Fight for Election Integrity


HOUSTON, Texas – True the Vote Founder and President Catherine Engelbrecht issued the
following statement regarding the “Validate the Vote” initiative, dismissal of lawsuits, and
ongoing ﬁght for election integrity:
                                                                                         
“Yesterday, we made the diﬃcult decision to dismiss our current lawsuits in
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Georgia, Michigan, Pennsylvania, and Wisconsin. While we stand by the voters’ testimony that
was brought forth, barriers to advancing our arguments, coupled with constraintsDONATE
  U TRUEll[}:l][gVOTE                                                            on time,
made it necessary for us to pursue a diﬀerent path. But our ﬁght for election integrity
continues. The litigation component of our work is only a fraction of what we are doing to
pursue real solutions to vulnerabilities in our election system. We are proud of the work we
have done to inform Americans of the massive gaps in election security – and after the chaos
that ensued after November 3, there is no denying the real and widespread problems
nationwide. Americans are now ‘woke’ about the mess – let’s clean it up together.


“Our mission is much bigger than just one election. It is about repairing the system for all
future elections. Our data analysis is ongoing and we’ll continue our own thorough top to
bottom investigation in the key battleground states to expose the gaping security lapses in
our election system. American voters deserve to know the truth. They deserve to have every
legal vote counted, which means exposing the illegal votes and shoring up the system to
minimize future illegal votes. We are pressing onward.… Georgia here we come.”


                                              ###


True
True the
     the Vote
         Vote (TTV) is an IRS-designated 501(c)3 voters’ rights organization, founded to inspire
and equip volunteers for involvement at every stage of our electoral process. TTV empowers
organizations and individuals across the nation to actively protect the rights of legitimate
voters, regardless of their political party aﬃliation. For more information, please
visit www.truethevote.org.




               TRUE THE VOTE
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               BREITBART: CATHERINE
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    < ENGELBRECHT ON CONVERSATION
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                                                                                     DETERM
                          NEVER QUIT
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